Case 2:17-cv-02015-SHM-dkv Document 39 Filed 05/26/17 Page 1 of 3               PageID 249




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TENNESSEE
                                       WESTERN DIVISION


SCOTT TURNAGE, CORTEZ D. BROWN,
DEONTAE TATE, JEREMY S. MELTON,
ISSACCA POWELL, KEITH BURGESS,
TRAVIS BOYD, and TERRANCE DRAIN on
behalf of themselves and
all similarly situated persons,

         Plaintiffs,                                     Case No. 2:16-cv-02907-SHM/tmp

v.                                                       Consolidated with
                                                         Case No.: 2:17-cv-02015-JTF-dkv
BILL OLDHAM, in his individual capacity
and in his official capacity as the Sheriff of
Shelby County, Tennessee; ROBERT
MOORE, in his individual capacity and in
his official capacity as the Jail Director of
the Shelby County, Tennessee; CHARLENE
McGHEE, in her individual capacity and in
her official capacity as the of Assistant Chief
Jail Security of Shelby County, Tennessee;
DEBRA HAMMONS, in her individual
capacity and in her official capacity as the
Assistant Chief of Jail Programs of Shelby
County, Tennessee; SHELBY COUNTY,
TENNESSEE, a Tennessee municipality;
and TYLER TECHNOLOGIES, INC., a
foreign corporation,

      Defendants.
______________________________________________________________________________

       DEFENDANT TYLER TECHNOLOGIES, INC.’S MOTION TO DISMISS
               SECOND AMENDED CLASS ACTION COMPLAINT
______________________________________________________________________________

         Defendant Tyler Technologies, Inc. (“Tyler”) moves this Court to dismiss the Second


4844-3756-8073 v1
2939324-000001 05/26/2017
Case 2:17-cv-02015-SHM-dkv Document 39 Filed 05/26/17 Page 2 of 3                     PageID 250




Amended Class Action Complaint for failure to state a claim pursuant to Federal Rule of Civil

Procedure 12(b)(6). Plaintiffs bring only one claim of negligence against Tyler. Plaintiffs’

conclusory allegations are not sufficient to state a claim for negligence against Tyler as a matter

of law. In addition, the negligence claim is precluded by the economic loss doctrine. Tyler

relies upon a memorandum in support of its Motion to Dismiss submitted contemporaneously

herewith.

         WHEREFORE, Tyler moves this Court to grant its Motion to Dismiss and for other such

relief to which it may be entitled.

Dated: May 26, 2017
                                             Respectfully submitted,


                                             s/ Bradley E. Trammell
                                             Bradley E. Trammell (# 13980)
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                                             COUNSEL FOR TYLER
                                             TECHNOLOGIES, INC.




                                                2
4844-3756-8073 v1
2939324-000001 05/26/2017
Case 2:17-cv-02015-SHM-dkv Document 39 Filed 05/26/17 Page 3 of 3                    PageID 251




                               CERTIFICATE OF SERVICE
        The undersigned attorney hereby certifies that on May 26, 2017, a true and correct copy
of the foregoing document was forwarded by electronic means through the Court’s ECF System
and/or email to:
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Jailor Robert Moore, Assistant Jailor              Jailor Robert Moore, Assistant Jailor
Charlene McGhee, and Shelby County,                Charlene McGhee, and Shelby County,
Tennessee                                          Tennessee


                                                     s/ Bradley E. Trammell
                                                     Bradley E. Trammell




                                               3
4844-3756-8073 v1
2939324-000001 05/26/2017
